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Of Attorneys for Plaintiff

                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
                                  PORTLAND DIVISION

 DARRELL KIMBERLIN,                                    Case No. 3:22-CV-01328-SI

                PLAINTIFF,
                                                       PLAINTIFF DARRELL
        v.                                             KIMBERLIN’S
                                                       NOTICE OF APPEARANCE
 CITY OF PORTLAND, STATE OF
 OREGON, TRAVIS HAMPTON, and
 JOHN DOES 1 AND 2,

                DEFENDANTS.


       PLEASE TAKE NOTICE that Amanda Lamb, of the law firm Oregon Justice Resource
Center, is associated as counsel of record for Plaintiff Darrell Kimberlin in the above-captioned
case.

       Dated: September 11, 2023




                                             Respectfully submitted,

                                             /s/ Amanda Lamb___________________
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